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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
       Petitioner,                            )       Civil Case No. 3:23-mc-00007
v.                                            )
                                              )       By: Elizabeth K. Dillon
SENTARA HEALTHCARE,                           )           United States District Judge
HOWARD KERN,                                  )
MICHAEL DUDLEY, and                           )
JAMES JUILLERAT,                              )
                                              )
       Respondents.                           )

                                  MEMORANDUM OPINION

       This enforcement matter arises out of an ongoing False Claims Act (FCA) investigation

of Sentara Healthcare (Sentara) by the United States Attorney’s Office and the Department of

Justice. The government is investigating whether Sentara made materially false statements in

health insurance rate filings for the 2018 and 2019 plan years for the Affordable Care Act (ACA)

individual health insurance marketplace in Virginia and submitted false claims for Advanced

Premium Tax Credits (APTCs) to the federal government. (Pet. For Enforcement 1, Dkt. No. 1.)

The United States issued to Sentara a number of Civil Investigative Demands (CIDs) for oral

testimony and documents relating to the market rate filings, and Sentara has generally complied

with these demands. (Id. at 8.) The government claims, however, that Sentara has refused to

comply with four CIDs requesting documents and oral testimony from several former and

current Sentara employees. (Id. at 14–15.) The United States brought this action to compel

Sentara’s responses to these CIDs. (Id.) Sentara opposes the government’s petition and has filed

several motions to seal the pleadings and related exhibits in this matter (Dkt. Nos. 9, 20, and 36).

The court temporarily sealed pleadings and related exhibits pending argument on the same.

Sentara also filed a motion to close the courtroom for a hearing on these matters. (Dkt. No. 46.)
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       The court held a hearing on these issues, and they are now ripe for resolution. For the

reasons stated on the record at the hearing, 1 the court denied the motion to close the courtroom

generally (Dkt. No. 46), but it took the motion under advisement in part to allow counsel to

request that the courtroom be closed for the discussion of specific exhibits or arguments.

Pursuant to this ruling, the court allowed bench conferences for sensitive matters. For the

following reasons, the court will grant the United States’ petition for enforcement (Dkt. No. 1)

and grant in part and deny in part Sentara’s motions to seal (Dkt. Nos. 9, 20, 36).

                                             I. BACKGROUND

       The United States has been investigating Sentara under the FCA since 2021, and Sentara

has provided voluminous documents and many depositions over the course of the investigation.

(Pet. 8.) In May 2021, the government issued CID No. 21-337 for all documents relating to the

2018 and 2019 ACA market rate filings as well as Sentara’s corporate and organizational

structure. (Id. at 7.) Later that year, Sentara named several document custodians including

Michael Dudley, the former president and CEO of Sentara, and James Juillerat, Sentara’s current

chief actuary. (Id. at 8.) As noted at the hearing, Sentara produced many documents in response

to that CID. On March 22, 2022, Sentara represented to the government that all documents had

been produced regarding Juillerat (Exhibit C, Dkt. No. 4-2), and on April 4, 2022, that all

documents had been produced regarding Dudley (Exhibit D, Dkt. No. 4-3). Following Sentara’s

represention in August 2022 that all responsive documents had been produced, the government

issued CIDs for the oral testimony of several custodians, including Dudley and Juillerat. 2 (Pet.




       1
           Many of these reasons also support the court’s ruling regarding the sealing of documents.
       2
           CID Nos. 22-1024 and 22-1026, respectively.


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8.) The United States took sworn testimony of Juillerat on December 8, 2022, and of Dudley on

June 12, 2023. (Id.)

       In June 2023, the United States noticed that Sentara was relying upon documents that had

not been previously produced to the government. Sentara then began producing thousands of

additional documents (somewhere between 2,100 and 2,800 new documents (about 8,000 pages))

after conducting a “re-review” of its records. While Sentara claims that many of these

documents were not responsive to the government’s original request for documents in CID No.

21-337 but were either duplicative or “relevant to Sentara’s defenses” (Id. at 12; Ex. G 1, Dkt.

No. 4-6), it admitted at the hearing that some of the documents were non-duplicative, relevant,

and responsive to the CIDs. According to the government, the new records contain “important

details requiring further investigation,” including additional sworn testimony from Dudley and

Juillerat. (Pet. 10.) The new documents also make extensive mention of Howard Kern,

Sentara’s president and CEO during the time in question, whom Sentara had not previously

identified as a custodian. (Id. at 11.)

       The United States issued two new CIDs for Kern’s responsive documents and sworn

testimony. 3 (Id. at 14.) The government has also requested Dudley and Juillerat’s further

testimony as a continuation of their previous testimony under CID Nos. 22-1024 and 22-1026,

but Sentara has not yet complied. (Id. at 14–15.) In light of Sentara’s noncompliance, the

United States filed a Petition for an Order to Show Cause and for Summary Enforcement of the

CIDs on November 13, 2023. (See generally Pet.) During the pendency of this petition, Sentara

has agreed to comply with the United States’ demands for Kern’s responsive documents and




       3
           CID Nos. 23-1221 and 23-1222, respectively.


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sworn testimony, leaving at issue only the CIDs demanding Dudley and Juillerat’s continued

sworn testimony. (US’s Reply 2, Dkt. No. 43.)

         The government also filed a motion to temporarily seal the exhibits attached to the

petition “until such time as the Respondents may note their position on the sealing of the

exhibits.” (US’s Mot. to Seal 1, Dkt. No. 2.) Sentara then filed several motions to seal the

following: (1) the petition and the accompanying exhibits (Dkt. No. 9), 4 (2) Sentara’s own

response to the petition (Dkt. No. 20), and (3) all future briefings in this matter (Dkt. No. 36).

                                                 II. DISCUSSION

A. Petition for Enforcement

         1. Legal standards

         The FCA empowers the Attorney General or his or her designee to issue a CID

requesting documents, responses to interrogatories, or deposition testimony. 31 U.S.C. §

3733(a)(1). When a CID recipient “fails to comply with any civil investigative demand issued

under subsection (a) . . . the Attorney General may file, in the district court of the United States

for any judicial district in which such person resides, is found, or transacts business, and serve

upon such person a petition for an order or such court for the enforcement of the civil

investigative demand.” 31 U.S.C. § 3733(j)(1). Courts treat CIDs as if they were administrative

subpoenas, meaning that the court’s role in enforcing CIDs is “sharply limited.” United States v.

Markwood, 48 F.3d 969, 975 (6th Cir. 1995); EEOC v. City of Norfolk Police Dep’t, 45 F.3d 80,

82 (4th Cir. 1995). A CID will be enforceable if the government can show the investigation has

a “legitimate purpose” and the CID “may be relevant to that purpose.” Markwood, 48 F.3d at

978. Further, courts must enforce CIDs when: (1) the issuing agency has the authority to engage


         4
            Sentara designates this as its response to the United States’ request for Sentara’s position on sealing the
petition’s exhibits.

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in the investigation; (2) the issuing agency has complied with the statutory requirements of due

process; (3) the information sought is reasonably relevant to the investigation; and (4) the

information sought is not unduly burdensome. 5 In re Civ. Investigative Demand 15-439, 2016

WL 4275853, at *3 (citing E.E.O.C. v. Ranstad, 685 F.3d 433, 442 (4th Cir. 2012)); EEOC v.

Maryland Cup Corp., 785 F.2d 471, 476 (4th Cir. 1986).

           2. Agency authority and undue hardship

           While Sentara argued in its briefing that the United States had no authority to issue the

CIDs, it conceded at the hearing that it is not pursuing this argument. (See Sentara’s Resp. 20,

Dkt. No. 19; Hr’g. Tr. 56:23–25, Dkt. No. 64.) Sentara also argued in briefing that the

government’s purported lack of authority somehow causes the CIDs to be “overly broad” and

“unduly burdensome.” (Sentara’s Resp. 20–21.) It is unclear whether Sentara intended to also

concede this point when it made its concession on the government’s authority; regardless, the

court does not accept Sentara’s line of reasoning. As the Fourth Circuit has found, “[t]he burden

of proving that an administrative subpoena is unduly burdensome is not easily met. The party

subject to the subpoena must show that producing the documents would seriously disrupt its

normal business operations.” N.L.R.B. v. Carolina Food Processors, Inc., 81 F.3d 507, 513 (4th

Cir. 1996) (quoting Maryland Cup Corp., 785 F.2d at 477. Sentara has made no such showing.

           3. Relevance of the CIDs

           The government further contends that the testimony sought is “reasonably relevant to the

United States’ investigation and is necessary because Sentara failed to produce all responsive

records for each witness prior to the government taking their sworn testimony.” (Pet. 21.)



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               Sentara does not dispute that the government has complied with the statutory requirements of due
process.


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Generally, “[f]or purposes of an administrative subpoena, the notion of relevancy is a broad

one.” Sandsend Fin. Consultants Ltd. v. Fed. Home Bank Bd., 878 F.2d 875, 882 (5th Cir.

1989). An agency “can investigate merely on the suspicion that the law is being violated, or

even just because it wants assurance that it is not.” United States v. Morton Salt Co., 338 U.S.

632, 642 (1950). “So long as the material requested ‘touches a matter under investigation,’ an

administrative subpoena will survive a challenge that the material is not relevant.” Sandsend,

878 F.2d at 882 (quoting EEOC v. Elrod, 674 F.2d 601, 613 (7th Cir. 1982)).

         The United States represents that the newly produced documents “include important

details requiring further investigation” and are “material to the core issues under investigation.”

(Pet.10; US’s Reply 5, Dkt. No. 39.) The government further contends that “over 150 of the

documents Sentara produced after Mr. Dudley’s sworn testimony on June 12 relate to Mr.

Dudley. Similarly[] . . . over 1,200 of these newly produced responsive documents involve Mr.

Juillerat.” (Pet. 14–15.) Sentara conceded at the hearing that some of the newly produced are

non-duplicative, relevant, and responsive. 6 As discussed above, the court in its “sharply limited”

role need merely find that the government’s investigation has a legitimate purpose and that the

CIDs at issue are reasonably relevant to that purpose. Markwood, 48 F.3d at 975. The

information the government is seeking from Dudley and Juillerat certainly “touches a matter

under investigation” as it is material to the insurance rate filings at the center of the

government’s investigation. Sandsend, 878 F.2d at 882. The court finds that the government’s




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            Sentara has also provided the government with another reason for not complying with the government’s
CIDs, writing in email correspondence that “[t]he Department has more than sufficient information in its possession
to make [a] decision . . . and it should do so without any more delay or expense to the subjects of this investigation.”
(Ex. M 3, Dkt. No. 4-12.) Sentara did not pursue this argument at the hearing, and, regardless, it is not part of the
court’s inquiry.

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requests for Dudley and Juillerat’s continued oral testimony are reasonably relevant to its

investigation.

       4. Procedural concerns

       At the hearing, Sentara focused its argument on an alleged government violation of the

CID statute’s (31 U.S.C. § 3773 (a)(2)(G)) requirement that a new civil investigative demand for

oral testimony must be authorized by the Attorney General before oral testimony may be

required of Dudley and Juillerat because they have already been deposed under the CIDs for

which the government seeks enforcement. Sentara states that it would now comply with new

CIDs, if authorized by the Attorney General, but it does not believe that a continuation of

depositions under the previously issued CIDs is allowed.

       The government represented that it seeks only to supplement the previous depositions of

Dudley and Juillerat based upon the newly produced documents for the same general purpose

and primary areas of inquiry provided in the previously issued CIDs. The need for additional

testimony arises from the failure of Sentara to produce all of the requested documents prior to the

depositions, despite a representation to the contrary. Sentara insists that the failure to produce all

of the documents was inadvertent in this complex matter and that it has cooperated and produced

many documents. The court has no reason to doubt these representations, but it makes no matter

here. The need for a continuation of the previously held depositions arises from the production

of the new documents.

       The decision in United States v. Hines, No. 8:18-mc-83, 2019 WL 4491313 (M.D. Fla.

Aug. 14, 2019), report and recommendation adopted, No. 8:18-mc-83, 2019 WL 4479314 (M.D.

Fla. Sept. 18, 2019), supports the government’s request to enforce the CIDs. In that case, a CID

recipient failed to produce requested documents before his testimony, but the government took



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his testimony anyway and reserved the right to resume the testimony; the recipient eventually

provided the documents. When the government later decided to take additional testimony, it

filed an enforcement petition asking the court to enforce the original CID. Id. at *2. The

magistrate judge found that the government had the authority to issue the CID and that the

information sought from the witness was relevant to that investigation. Id. at *8–9. The district

judge ordered that the original CID be “enforced as issued” and did not require the issuance of a

new CID. United States v. Hines, 2019 WL 4479314 at *1 (M.D. Fla. Sept. 18, 2019) (emphasis

added). The court will follow a similar approach here and not require the government to issue

new CIDs for Dudley’s and Juillerat’s testimony.

       The United States has shown, and Sentara has conceded, that it has the authority to

conduct an FCA investigation of Sentara’s rate filing practices in 2018 and 2019, and the court

finds that Dudley and Juillerat’s testimony is reasonably relevant to that purpose and not unduly

burdensome. For these reasons, the court, cognizant of its “sharply limited” role in enforcing

CIDs, will grant the United States’ petition to enforce CIDs 22-1024 and 22-1026 and order that

Dudley and Juillerat comply with the government’s requests for their continued testimony.

B. Motions to Seal

       1. Legal standards

       Although the district court’s authority and discretion to seal judicial records or documents

is well established in the Fourth Circuit, the court may do so only “if the public’s right of access

is outweighed by competing interests.” Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir.

2000) (quotations omitted). Because public access advances judicial integrity and serves the

public interest, access “may be abrogated only in unusual circumstances.” Stone v. Univ. of Md.

Med. Sys. Corp., 855 F.2d 178, 182 (4th Cir. 1988). See also Doe v. Public Citizen, 749 F.3d



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246, 266 (4th Cir. 2014). The party seeking the sealing of documents bears the burden of

overcoming the right of access to the documents. Va. Dep’t of State Police v. Washington Post,

386 F.3d 567, 578 (4th Cir. 2004).

       There are two sources for the public’s right of access to court documents – the common

law and the First Amendment. Id. at 575. “The common law presumes a right to inspect and

copy judicial records and documents.” Stone v. Univ. of Md. Med. Sys. Corp., 855 F2d 178, 180

(4th Cir. 1988) (citing Nixon v. Warner Commc’ns., Inc., 435 U.S. 589, 597 (1978)). This

presumptive right to judicial documents can be “rebutted only by showing that countervailing

interests heavily outweigh the public interests in access.” Doe v. Public Citizen, 749 F.3d 246,

264 (4th Cir. 2014). Courts have also noted that the public interest is at its apex when the

government is a party to the action. Id. at 271. Likewise, the First Amendment guarantees access

but only “to particular judicial records and documents.” Id. at 180; see, e.g., In re Washington

Post Co., 807 F.2d 383, 390 (4th Cir. 1986) (First Amendment right of access applies to criminal

plea and sentencing hearings); Rushford v. New Yorker Magazine, Inc., 846 F.2d 249, 252–53

(4th Cir. 1988) (same as to filings related to summary judgment); but see Craddock v.

LeClairRyan, No. 3:16-cv-11, 2019 WL 2437460, at *6–7 (E.D. Va. June 11, 2019) (First

Amendment right of access does not apply to arbitration awards, but common law right does). In

the civil context, there is very little caselaw about application of the First Amendment right of

access other than summary judgment motions. When the First Amendment provides a right of

access to records, that right may only be overcome by a “compelling government interest” and

only if the denial of access is “narrowly tailored to serve that interest.” Doe, 749 F.3d at 266.

       Usually, the distinction between the rights of access afforded by the common law and the

First Amendment is “significant” because the common law “does not afford as much substantive



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protection to the interests of the press and the public as does the First Amendment.” In re

Baltimore Sun Co., 886 F.2d 60, 64 (4th Cir. 1989); Rushford v. New Yorker Magazine, Inc., 846

F.2d 249, 253 (4th Cir. 1988). Because of this distinction, the district court is generally directed

to first “determine the source of the right of access with respect to each document . . . [so it] then

can it accurately weigh the competing interests at stake.” Stone v. Univ. of Md. Med. Sys. Corp.,

855 F.2d 178, 181 (4th Cir. 1988).

         Upon determining the source of the right of access, a district court may seal court

documents once it has “(1) provided public notice of the request to seal and allow[ed] interested

parties a reasonable opportunity to object, (2) consider[ed] less drastic alternatives to sealing the

documents, and (3) provide[ed] specific reasons and factual findings supporting its decision to

seal the documents and for rejecting the alternatives.” 7 Ashcraft, 218 F.3d at 302.

         2. Source of the right of access

         The government argues that the First Amendment provides the source of the right of

access because the government is a party. It further argues that the court need not decide this

constitutional issue because Sentara cannot overcome its burden under the less demanding

common law standard. Sentara makes no argument regarding the source of the right of access.

         Because there is no caselaw applying the First Amendment as a source of access in CID

matters and in accordance with the doctrine of constitutional avoidance, the court first analyzes

the matter under the common law standard. As noted below, because Sentara cannot meet the

common law standard for most of the documents, the court has no need to analyze the matter

under the more demanding First Amendment standard. 8


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             The docket in this case provided public notice.
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               As the Supreme Court has recognized, “It is a well[-]established principle governing the prudent exercise
of . . . jurisdiction that normally [a federal court] will not decide a constitutional question if there is some other

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        3. Sentara has not presented countervailing interests that heavily outweigh the
           public interests in access that would justify Sentara’s broad sealing request

        Sentara asks that the court seal the government’s petition, all exhibits to the petition,

Sentara’s response and exhibits thereto, and the government’s reply to Sentara’s response. It

argues that without the sealing of the documents it will suffer reputational damage and that the

Federal Claims Act supports the sealing of documents. It further argues that the petition is

overly broad in certain of its disclosures and that at least some of the exhibits should be sealed.

        Sentara first contends that making the pleadings here publicly available would have

“damaging implications” and that the petition causes harm “by alerting the public and the press

to damaging allegations that the Government maintains it has not yet fully investigated.”

(Sentara’s Mem. in Supp. of First Mot. to Seal 4–5, Dkt. No. 10.) Courts have found several

factors associated with reputational damage that weigh in favor of sealing court documents: “(1)

where disclosure may be used to gratify private spite or promote public scandal, (2) where

disclosed records may serve as reservoirs of libelous statements for press consumption, or (3)

where disclosure might reveal trade secrets[.]” Under Seal v. Under Seal, 326 F.3d 479, 485–86

(4th Cir. 2003) (citing Nixon, 435 U.S. at 598–99). Sentara claims that the petition includes

sensitive business information and that government is using the petition to stir up public

sentiment against Sentara. (Id. at 6.) The United States responds that the petition does not

contain any trade secrets or otherwise confidential information that would disadvantage Sentara

in the market. (US’s Resp. to First Mot. to Seal 6, Dkt. No. 23.) The government further

contends that the circumstances surrounding the rate filings at issue here are already well-known




ground upon which to dispose of the case.” Escambia Cnty. v. McMillan, 466 U.S. 48, 51 (1984) (citing Ashwander
v. Tenn. Valley Auth., 297 U.S. 288, 347 (1936) (Brandeis, J., concurring)).

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to the public and have been covered by the press. 9 (Id. at 7.) The court agrees that the unsealing

of this matter would not reveal trade secrets, cause further damage to Sentara’s reputation, or stir

up any public scandal. Given that the issues have already been publicized, it appears whatever

damage that may come from the disclosure of the United States’ investigation has already been

done. Moreover, most of the disclosures were necessary for the United States to seek the relief

requested.

        Sentara also supports its arguments regarding possible reputational harm by pointing to

the routine sealing of qui tam cases, noting that the seal is used “to [both] permit the United

States to investigate the allegations” and “to protect the reputation of a defendant in that the

defendant is named in a fraud action brought in the name of the United States, but the United

States has not yet decided whether to intervene.” ACLU v. Holder, 673 F.3d 245, 250 (4th Cir.

2011). But qui tam actions and CID proceedings are statutorily distinct. Qui tam actions are

brought under the FCA, 10 while 31 U.S.C. § 3733 sets forth the CID regulations. This is not a

qui tam action. It is a procedure to enforce CIDs, and the CID regulations do not include any

confidentiality requirement. Rather, the statute specifically provides for the public use of

material obtained from a CID in enforcement proceedings.

        Indeed, the “official use” provision of the CID statute—which the United States relies

upon—authorizes the government to introduce CID documents and transcripts “into the record of

a case or proceeding; applications, motions, memoranda and briefs submitted to a court or other

tribunal” and “in connection with any such case or proceeding as such [DOJ] attorney determines



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           See, e.g., Sandy Hausman, Consumers Complain of Massive Health Insurance Hikes, WTVF (Apr. 12,
2018, 4:24 PM), https://www.wvtf.org/news/2018-04-12/consumers-complain-of-massive-health-insurance-hikes;
Lisa Provence, Out of pocket, C-VILLE WEEKLY (Dec. 6, 2023, 5:00 AM), https://www.c-ville.com/out-of-pocket.
        10
             See 31 U.S.C. § 3730(b).


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to be required.” 31 U.S.C. § 3733(l)(8); § 3733(i)(3). The United States contends that the

transcript excerpts included in the petition satisfy the “official use” exception because the

excerpts “directly addressed the issue underpinning the Petition to Enforce: the relevance of

Howard Kern’s documents and testimony[.]” (US’s Opp’n to First Mot. to Seal at 8, Dkt. No

23.)

        In a similar case, United States v. Bechtold, No. 3:22-MC-18, 2022 WL 3137950 (N.D.

Fla. June 13, 2022), the respondents filed a motion to strike or seal a portion of the government’s

enforcement petition that purportedly conveyed the government’s opinions of the merits of its

FCA investigation in a way that put the respondents in a negative light and included purportedly

confidential information. Id. at *2. The government opposed this request, asserting, as the

United States does here, that nothing in the CID statute prohibits the government from simply

explaining its investigation and “judicial opinions resolving disputes over CIDs routinely include

a summary of the Government’s allegations and the basis for the FCA investigation.” 11 Id. The

court ultimately denied the motion to strike/seal. Id. at 3. Though the government in Bechtold

did not explicitly invoke the “official use” exception as it does here, Bechtold is analogous to the

present matter. Here, the petition contains information that Sentara considers negative and

confidential but that the government contends is simply being used to explain the reason for the

petition. The United States’ inclusion in the petition of excerpts from Dudley’s testimony and

other information obtained from CIDs was done to demonstrate the need for the enforcement

measures for which it has petitioned. Thus, with only a few exceptions addressed later, the court

finds that the information falls under the “official use” exception and need not be kept under

seal.


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           See, e.g., United States v. Kamal Kabakibou, MD, PC, 522 F. Supp. 3d 1307, 1309 (N.D. Ga. 2020);
United States v. Witmer, 835 F. Supp. 208, 211–12 (M.D. Pa. 1993).

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       2. Sentara’s arguments regarding negotiations between the parties

       Sentara next contends that the petition “implicates information covered by settlement

discussions” in violation of Federal Rule of Evidence 408. Sentara points to Exhibit G (Dkt. No.

4-6), an email chain referencing negotiations, as particularly violative of Rule 408. (Sentara’s

First Mot. to Seal 6.) The government asserts that the petition does not violate Rule 408 since it

“at no point seeks to use the evidence to prove or dispute the validity or amount of a disputed

claim, or to impeach Sentara’s witnesses.” (US’s Resp. to First Mot. to Seal at 12.) The court

finds that disclosures of exhibits regarding negotiations does not violate Rule 408. However, the

court also finds that disclosures of the particulars of any negotiations, other than mere references

to negotiations, would reveal sensitive matters that should be kept confidential and are not

necessary to the court’s determination of the issues before it. The parties’ interests in

confidential negotiations outweigh the public interest in access to these documents. Therefore,

the court will maintain the seal, and/or redact, certain of the documents listed below.

       3. Assessment of countervailing interests and sealing factors

       The determination of whether countervailing interests heavily outweigh the public’s

interests in access to judicial records is up to “the sound discretion of the court [considering] the

relevant facts and circumstances of the particular case.” Washington Post, 386 F.3d at 575

(quoting Nixon, 435 U.S. at 598–99). The court finds Sentara has not shown that its interests

regarding sealing all requested documents wholly outweigh the public’s right of access to this

matter. Regarding certain exhibits, or portions thereof, however, countervailing interests do

outweigh the public’s interest. Exhibits containing the content of the government’s

investigation, and not the mere logistics of requesting and receiving information, are properly

sealed. While the exhibits were appropriately attached to the various pleadings, some of them



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contain detailed information revealed in the investigation comingled with the logistics of

producing the same. For the most part, it is the logistics that are key to the petition before the

court. The substance of the pending investigation, however, should remained sealed because of

the harm that could result to all parties if disclosed now. The substance of the investigation

includes the testimony witnesses (other than the brief excerpt included in the petition),

interrogatories and other questions posed by the government, and Sentara’s responses thereto.

       When deciding whether to grant a motion to seal, the court also must determine whether

there are less drastic alternatives to sealing. Here, the court has reviewed each document that has

been filed under seal. Only a few documents will remain entirely sealed because redaction is not

an appropriate alternative to sealing. The remaining documents that contain, in part, matters that

should be sealed will be redacted as an alternative to sealing the documents.

       Thus, for the foregoing reasons, the court will grant Sentara’s motions to seal (Dkt. Nos.

9, 20, 36) in part and deny the motions in part. All documents except those listed below shall be

public documents on the court’s docket and shall be unsealed:

       Dkt. No. 4-8, Exhibit I – 2023 email thread – REDACT (regarding negotiations and

specific document requests)

       Dkt. No. 4-14, Exhibit O – Dudley deposition transcript excerpt – SEAL

       Dkt. No. 19-2, Exhibit 1 – 2021 email thread – REDACT (regarding data extraction

information, current set, and term revisions)

       Dkt. No. 19-5, Exhibit 4 – 2022 email thread – REDACT (regarding specifically

requested information and answers thereto)

       Dkt. No. 19-8, Exhibit 7 – 2022 email thread – REDACT (regarding testimony and

specifically requested information)



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       Dkt. No. 19-10, Exhibit 9 – 2023 emails re negotiations – SEAL

       Dkt. No. 19-11, Exhibit 10 – CID No. 23-1222 and interrogatories – REDACT (regarding

interrogatories)

       Dkt. No. 19-13, Exhibit 12 – 2023 email thread – REDACT (regarding negotiations and

specific areas of questioning for witnesses)

       Dkt. No. 19-14, Exhibit 13 – Responses to interrogatories – SEAL

                                       III. CONCLUSION

       For the foregoing reasons, the court will grant the United States’ petition for enforcement

and grant in part and deny in part Sentara’s motions to seal. An appropriate order will be

entered.

       Entered: March 8, 2024.




                                                    /s/ Elizabeth K. Dillon
                                                    Elizabeth K. Dillon
                                                    United States District Judge




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